                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 UNITED STATES OF AMERICA,
              Plaintiff,                                  No. CR00-1015
 vs.                                            REPORT AND RECOMMENDATION
 ROBERT H. FRANK,
              Defendant.
                                ____________________


       This matter comes before the court pursuant to movant Robert H. “Butch” Frank’s
motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (docket
number 318). Briefs on the merits of this matter have been submitted. This matter was
referred to the undersigned United States Magistrate Judge for issuance of a Report and
Recommendation pursuant to 28 U.S.C. § 636(b)(1)(B). The undersigned recommends
that the application for writ of habeas corpus be denied and this matter be dismissed.
                            I. PROCEDURAL HISTORY
       Movant Robert Frank and two other individuals, Kimberly K. Welch and Lorin A.
Ahlers, were charged with federal crimes in an indictment returned October 30, 2000, in
the Northern District of Iowa. The indictment charged all three defendants “with devising
and participating in a scheme to defraud” Iowa District Court Judge Thomas Nelson, the
Continental Insurance Company, and the United States in connection with a criminal
judgment entered against Mr. Frank. Mr. Frank was convicted in February 1988 of the
May 1985 arson of Judge Nelson’s Dubuque, Iowa, home after Judge Nelson had entered
a default judgment against Mr. Frank in a March 1985 divorce proceeding. Mr. Frank
was sentenced to 30 years of incarceration and ordered to make restitution in the amount
of $250 to Judge Nelson, $121,600.01 to the Continental Insurance Company, and to pay

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a $300 special assessment to the United States. Upon his release from prison on parole in
1998, Mr. Frank was required to make payments on the criminal judgment and provide
the United States Probation Office with monthly financial statements.
       Mr. Frank was named in all 50 counts of the October 30, 2000, indictment. Counts
1 through 22 charged Mr. Frank with mail fraud in his attempt to conceal his true assets,
income, and earning potential to avoid repayment or collection of the 1988 criminal
judgment in violation of 18 U.S.C. §§ 2 and 1341. Counts 23 through 27 charged
Mr. Frank with wire fraud in connection with the scheme outlined in Counts 1 through 22
in violation of 18 U.S.C. §§ 2 and 1343. Count 28 charged Mr. Frank with conspiracy
to defraud the United States in violation of 18 U.S.C. § 371. Counts 29 through 44
charged Mr. Frank with submitting false statements in his monthly financial statements to
the United States Probation Office in violation of 18 U.S.C. § 101. Count 45 charged
Mr. Frank with obstruction of justice and aiding and abetting the obstruction of justice in
order to facilitate the above outlined scheme in violation of 18 U.S.C. §§ 2 and 1503.
Count 46 charged Mr. Frank with money laundering in order to facilitate the above
outlined scheme in connection with a transaction involving a 1954 Chevrolet Corvette in
violation of 18 U.S.C. §§ 2 and 1956(a)(1)(B)(I). Count 47 charged Mr. Frank with
money laundering in order to facilitate the above outlined scheme in connection with a
transaction involving a 1995 Dodge Dakota truck in violation of 18 U.S.C. §§ 2 and
1956(a)(1)(B)(I). Count 48 charged Mr. Frank with money laundering in order to facilitate
the above outlined scheme in connection with a transaction involving a 1977 Oldsmobile
Cutlass in violation of 18 U.S.C. §§ 2 and 1956(a)(1)(B)(I). Count 49 charged Mr. Frank
with conspiracy to commit money laundering in order to facilitate the above outlined
scheme in violation of 18 U.S.C. §§ 1956(a)(1)(B)(I), 1956(h), and 1957.
       Mr. Frank pleaded not guilty to all counts of the indictment on November 6, 2000.
On March 21, 2001, Mr. Frank was charged in a second two-count indictment with
removal of property to prevent seizure by the United States in violation of


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18 U.S.C. § 2232, and obstruction of justice related to the property removal in violation
of 18 U.S.C. § 1503. On April 2, 2002, United States District Court Judge Michael J.
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Melloy ordered the cases against Mr. Frank consolidated for trial. Mr. Frank was
convicted on Counts 1–46, 49, and Counts 1 and 2 of the March 21, 2001, indictment
following a four day jury trial on November 2, 2002. He was acquitted of Counts 47 and
48.
        Mr. Frank was sentenced on February 3, 2003, to 60 months of incarceration on
each of Counts 1 through 45, 100 months of incarceration on Counts 46 and 49, and 60
months of incarceration on each of Counts 1 and 2 of the March 21, 2001, indictment.
The District Court ordered all terms of imprisonment to run concurrently. He was also
charged a special assessment of $4900 and fined $5000. Upon release, Mr. Frank is
subject to 3 years of supervised release. The District Court dismissed Count 50 of the
indictment.
        On February 7, 2003, Mr. Frank gave timely notice of his intent to appeal his
conviction to the United States Court of Appeals for the Eighth Circuit. In his brief to the
Circuit Court, Mr. Young raised numerous arguments, including that the District Court
erred: (1) in allowing into evidence letters Mr. Frank wrote while in prison that were
irrelevant to the issues in the case; (2) in denying Mr. Frank’s motion for judgment of
acquittal and a new trial; (3) in giving the jury an instruction on obstruction of justice;
(4) in determining Mr. Frank’s base offense level under the U.S. Sentencing Guidelines;
(5) in imposing a sentencing adjustment for obstruction of justice; and (6) in imposing a
sentencing adjustment for Mr. Frank’s role in the offense. The Eighth Circuit affirmed




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         Judge Melloy presided over this case until he was appointed to the United States
Court of Appeals for the Eighth Circuit on February 14, 2002. Judge Robert T. Dawson,
United States District Court Judge for the Western District of Arkansas, sitting by
designation, presided over the remainder of Mr. Frank’s district court proceedings.

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Mr. Frank’s convictions in all respects. United States v. Frank, 354 F.3d 910, 929 (8th
Cir. 2004).
       The instant motion was filed by Mr. Frank, pro se, on January 5, 2005. In his
28 U.S.C. § 2255 motion, Mr. Frank raises numerous arguments challenging his
conviction and sentence. Specifically, Mr. Frank asserts: (1) the sentencing court erred
by listing Count 47 in the counts of conviction when he was actually acquitted of Count
47; (2) he is actually innocent of all the charges he was convicted of; (3) his sentence for
money laundering is inconsistent with the jury’s verdict and the U.S. Sentencing
Guidelines; and (4) he was sentenced for conduct not alleged in the indictment or provided
in the jury’s verdict. This motion was referred to the undersigned United States Magistrate
Judge on March 18, 2005, for issuance of a Report and Recommendation.
       The government resisted Mr. Frank’s section 2255 motion on April 8, 2005. In its
resistance, the government asserts that: (1) the reference to Count 47 in the counts of
conviction was merely a typographical error that did not result in any prejudice to
Mr. Frank because Count 47 was not considered during sentencing; (2) Mr. Frank is not
actually innocent of the crimes for which he was convicted; (3) Mr. Frank’s money
laundering sentence was correctly determined pursuant to the U.S. Sentencing Guidelines;
and (4) Blakely v. Washington, 124 S. Ct. 2531 (2004), and United States v. Booker, 125
S. Ct. 738 (2005), do not apply to this collateral review of Mr. Frank’s case.
       On April 25, 2005, Mr. Frank moved this court to allow him to amend or
supplement his section 2255 motion. Mr. Frank claimed that his lack of legal knowledge
prevented him from filing a sufficient section 2255 motion, which would have included
arguments such as, but not limited to: (1) “ineffective assistance of counsel”; (2) that he
was deprived of his rights guaranteed by Article III and the Fifth and Sixth Amendments
of the Constitution; (3) that Judge Dawson violated Article IV of the Constitution; and
(4) that his sentence exceeds what was warranted by his conviction in violation of Article




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III and the Fifth and Sixth Amendments of the Constitution. The motion was granted by
the undersigned United States Magistrate Judge on May 27, 2005.
       Mr. Frank filed a reply to the government’s resistance to his section 2255 motion
on April 29, 2005, approximately one month prior to the undersigned United States
Magistrate Judge’s grant of Mr. Frank’s motion to amend his section 2255 motion. In his
reply, Mr. Frank asserts that “[t]he first 21 pages of the Government’s response actually
has nothing to do with Petitioner’s claims. Thus, is [sic] nothing more than a smoke
screen.” However, instead of merely rebutting the government’s arguments, Mr. Frank
improperly raises numerous new arguments in support of his section 2255 motion.
Mr. Frank begins by making what this court deems an unsophisticated claim of ineffective
assistance of counsel, stating that “at his sentencing, the judge, prosecutor and his then
attorney knowingly and intentionally stoled [sic] and deprived him of rights guaranteed him
then by Article III, § 2, Clause 3 and the Fifth and Sixth Amendments of our
Constitution.” Mr. Frank then proceeds to assert 11 additional grounds in support of his
section 2255 motion. He specifically asserts that: (1) the Fifth Amendment bars the
government from bringing new allegations in a Presentence Report (PSIR) that result in
an increased sentence because a new grand jury indictment for the new allegations is
required; (2) the sentencing statute, 18 U.S.C. § 3553, and the U.S. Sentencing Guidelines
that directed the sentencing court to determine new charges in his PSIR that resulted in an
increased sentence are unconstitutional; (3) he is not raising a Blakely/Booker claim,
rather, he is arguing that Article III, Article VI, and the 5th and 6th Amendments of the
Constitution prohibit sentencing judges from finding a defendant guilty of certain facts and
offenses not submitted to a jury; (4) his sentence exceeds what is constitutionally
permissible for the crime for which he was convicted; (5) a portion of his sentence is
constitutionally invalid; (6) the procedure under which he was sentenced did not comply
with Article III and the Fifth and Sixth Amendments of the Constitution; (7) the
Constitution “is the supreme law of the land and all judges shall support said


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Constitution”; (8) the U.S. Sentencing Guidelines are constitutionally impermissible; (9)
sentencing judges cannot act in violation of the Constitution; (10) Blakely v. Washington
and its “progeny” have fully clarified the application of the Sixth Amendment to
sentencing procedures; and (11) he can challenge his sentence at any time.
       Mr. Frank filed an amendment to his section 2255 motion on June 24, 2005. In the
amendment, Mr. Frank asserts numerous claims, all of which pertain to the same
argument: that the sentencing court violated the Constitution when it enhanced his
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sentence in accordance with his PSIR.       Although Mr. Frank raised numerous claims in
his reply to the government’s resistance and his amendment to his section 2255 motion,
with the exception of his inexplicit ineffective assistance of counsel claim, all of his new
claims are simply reassertions of the fourth argument of his original section 2255 motion.
Mr. Frank has failed, with the exception of the ineffective assistance of counsel claim, to
raise any new issues in support of his motion in either his reply or his amendment to his
original motion.    Furthermore, Mr. Frank inappropriately used his reply to the
government’s resistance in an attempt to raise new arguments in support of his motion
before this court had granted his motion to amend. This court will not separately address
the arguments Mr. Frank improperly raised in his reply to the government’s resistance.
However, as stated, with the exception of the ineffective assistance of counsel claim,
Mr. Frank did not raise any new arguments in his reply, or his amendment. This court
will address Mr. Frank’s ineffective assistance of counsel claim even though it was



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          Mr. Frank listed 11 arguments in his amendment to his section 2255 motion.
Arguments 1 and 2 state that mandatory sentencing enhancements are unconstitutional.
Arguments 3 through 11 allege a violation of double jeopardy pertaining to the sentencing
enhancements, that the enhancements are unconstitutional (repetition from arguments 1 and
2), that Judge Dawson violated the Constitution in determining Mr. Frank’s sentence, and
that Mr. Frank’s sentence is unconstitutional. Specifically, arguments 4 through 10 all
claim that Mr. Frank’s sentence was unconstitutional. These are merely reassertions of
the fourth argument Mr. Frank set forth in his original section 2255 motion.

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improperly raised because of the argument’s importance to the remainder of the instant
motion.
                              II. CONCLUSIONS OF LAW
                         A. Standard Under 28 U.S.C. § 2255
       Title 28 U.S.C. § 2255 states in pertinent part:
              A prisoner under sentence of a court established by Act of
              Congress claiming the right to be released upon the ground
              that the sentence was imposed in violation of the Constitution
              or laws of the United States, or that the court was without
              jurisdiction to impose such sentence, or that the sentence was
              in excess of the maximum authorized by law, or is otherwise
              subject to collateral attack, may move the court which imposed
              the sentence to vacate, set aside or correct the sentence.
28 U.S.C. § 2255. Section 2255 is the statutory analogue of habeas corpus for persons in
federal custody. Poor Thunder v. United States, 810 F.2d 817, 821 (8th Cir. 1987).
“Like habeas itself, Section 2255 is not the equivalent of a direct appeal. There are many
claims of error sufficiently grave and prejudicial to cause a reversal of conviction on direct
appeal, but yet not fundamental enough to support a collateral attack” under section 2255.
Id. at 821. Consequently, relief under section 2255 is reserved solely for “transgressions
of constitutional rights and for a narrow range of injuries that could not have been raised
on direct appeal and, if [left] uncorrected, would result in a complete miscarriage of
justice.” United States v. Apfel, 97 F.3d 1074, 1076 (8th Cir. 1996) (citing Poor
Thunder, 810 F.2d at 821).
       Ordinarily, the failure of a section 2255 movant to raise an issue on direct appeal
acts to procedurally bar him or her from raising that issue for the first time in a motion
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pursuant to section 2255. Matthews v. United States, 114 F.3d 112, 113 (8th Cir. 1997).

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        The rule of procedural default applies with equal force to an adjudication of guilt
based on a defendant’s plea of guilty as it does to a court or jury conviction. See Reid v.
United States, 976 F.2d 446, 448 (8th Cir. 1992) (applying the rule of procedural default
                                                                              (continued...)

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More specifically, as a result of a section 2255 movant’s failure to raise an issue on appeal,
the Circuit Court “cannot review his claims on their merits unless [the movant] is able to
demonstrate either [1] cause for his default and actual prejudice, or [2] that the failure to
consider his claims would result in a fundamental miscarriage of justice.” McCall v.
Benson, 114 F.3d 754, 758 (8th Cir. 1997) (citing Cole v. Thompson, 501 U.S. 722, 750
(1991)). The requirement of cause and prejudice means that a section 2255 movant “may
not raise constitutional issues for the first time on collateral review without establishing
both cause for the procedural default and actual prejudice resulting from the error.”
Apfel, 97 F.3d at 1076 (citing United States v. Frady, 456 U.S. 152, 167–68 (1982)). The
“fundamental miscarriage of justice” exception to procedural default is “only available to
a [movant] who demonstrates ‘that a constitutional violation has probably resulted in the
conviction of one who is actually innocent.’” McCall, 114 F.3d at 758. The rule of
procedural default recognizes that the significant interest of finality in criminal cases
retains strength only if the direct appeal remains the exclusive route for complaining of
errors that demonstrate neither “a fundamental defect which inherently results in a
complete miscarriage of justice, nor an omission inconsistent with the rudimentary
demands of fair procedure.” Id. at 821–22 (citing Johnson v. United States, 805 F.2d
1284, 1287 (7th Cir. 1986) (quoting Hill v. United States, 368 U.S. 424, 428 (1962))).
       Once a court has decided the merits of all of the movant’s claims which are properly
before it, and has further determined whether the remaining claims may be excused from
procedural default based on cause and prejudice, the court may analyze whether based
upon a claim of actual innocence under the fundamental miscarriage of justice exception,
the movant can avoid procedural default. See Dretke v. Haley, 541 U.S. 386 (2004). The
actual innocence exception to procedural default “applies only when a [movant] shows by
clear and convincing evidence that, but for the alleged constitutional error, no reasonable

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         (...continued)
after the defendant’s knowing and voluntary plea of guilty).

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juror would have found the petitioner guilty.” Anderson v. United States, 25 F.3d 704,
706–07 (8th Cir. 1994). Furthermore, “[t]he exception only applies to claims of factual
innocence as opposed to legal innocence.” Id. at 707. Specifically, a movant claiming
actual innocence must show: (1) that his allegations of constitutional error are supported
by new reliable evidence that was not presented at trial; and (2) that it is more likely than
not that no reasonable juror would have convicted him in light of the new evidence.
Weeks v. Bowersox, 119 F.3d 1342, 1351 (8th Cir. 1997). The fundamental miscarriage
of justice exception is to remain rare and only be applied in the extraordinary case,
reserved solely for those who are “truly deserving.” Id. at 1351 (citing Schlup v. Delo,
513 U.S. 298, 321–22 (1995)). Accordingly, the actual innocence exception mandates
“review of procedurally barred, abusive, or successive claims only in the narrowest type
of case—when a fundamental miscarriage of justice would otherwise result.” Id. (citing
Bowman v. Gammon, 85 F.3d 1339, 1346 (8th Cir. 1996)).
              B. Standard Regarding Ineffective Assistance of Counsel
       The Sixth Amendment right to counsel exists “in order to protect the fundamental
right to a fair trial.” Strickland, 466 U.S. at 684.
              [T]he right to effective assistance of counsel is recognized not
              for its own sake, but because of the effect it has on the ability
              of the accused to receive a fair trial. Absent some effect of
              challenged conduct on the reliability of the trial process, the
              Sixth Amendment guarantee is generally not implicated.
Lockhart, 506 U.S. at 364 (quoting United States v. Cronic, 466 U.S. 648, 658 (1984)).
A criminal defendant is also entitled to effective assistance of counsel on a first appeal.
Rogers v. United States, 1 F.3d 697, 700 (8th Cir. 1993); Estes v. United States, 883 F.2d
645, 648 (8th Cir. 1989).
       Absent unusual circumstances, a section 2255 movant’s demonstration of ineffective
assistance of counsel satisfies the cause and prejudice standard of procedural default.
Apfel, 97 F.3d at 1076. However, in order to successfully demonstrate ineffective


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assistance of counsel within the context of section 2255, the movant faces a heavy burden.
See id. at 1076. In the context of a motion under section 2255, a claim of ineffective
assistance of counsel is to be analyzed under the two-part test set forth in Strickland v.
Washington. The United States Supreme Court reformulated the Strickland test for
constitutionally ineffective assistance of counsel in Lockhart v. Fretwell. The Eighth
Circuit’s application of this test states:
              Counsel is constitutionally ineffective under Fretwell when:
              (1) counsel’s representation falls below an objective standard
              of reasonableness; and (2) the errors are so prejudicial that the
              adversarial balance between defense and prosecution is upset,
              and the verdict is rendered suspect.
English v. United States, 998 F.2d 609, 613 (8th Cir. 1993) (citing Lockhart, 506 U.S.
at 369–70). Review of trial counsel’s performance is deferential and the presumption is
that trial counsel was competent and effective. Strickland, 466 U.S. at 689; Smith v.
Lockhart, 921 F.2d 154, 156 (8th Cir. 1990). Reasonable trial strategy cannot rise to the
level of ineffective assistance of counsel. Id. (citing Stacey v. Solem, 801 F.2d 1048,
1051 (8th Cir. 1986)). Counsel’s strategic decisions “made after a thorough investigation
of law and facts . . . are virtually unchallengeable,” Strickland, 466 U.S. at 690, even if
those strategic decisions prove unwise. Wing v. Sargent, 940 F.2d 379, 381 (8th Cir.
1988), cert. denied, 489 U.S. 1088 (1989). Representation is an art, and an act or
omission that is unprofessional in one case may be sound or even brilliant in another.
Strickland, 466 U.S. at 693.
       If a section 2255 movant fails to demonstrate ineffective assistance of counsel as
cause for the procedural default and prejudice attributable thereto, he or she may not obtain
review of the defaulted claim. See Wainright v. Sykes, 433 U.S. 72 (1977). In the
context of ineffective assistance of counsel, “cause” for procedural default must ordinarily
be demonstrated by showing that some objective factor external to the defense impeded
counsel’s efforts to comply with the applicable procedural rule or standard of conduct. See


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Smith, 882 F.2d at 333 (citing Murray v. Carrier, 477 U.S. 478, 488 (1986)). “When
counsel’s conduct has impeded the [movant’s] effort to bring a claim,” such ineffective
assistance of counsel constitutes “cause” for purposes of avoiding procedural default. See
id.
         In addition to establishing “cause,” a section 2255 movant must “shoulder the
burden of showing, not merely that errors at his trial created a possibility of prejudice but
that they worked to his actual and substantial disadvantage, infecting his entire trial with
error of constitutional dimensions.” United States v. Frady, 456 U.S. 152, 170 (1982).
Where conduct has not prejudiced the movant, the court need not address the
reasonableness of that conduct. Id. at 691; United States v. Williams, 994 F.2d 1287,
1291 (8th Cir. 1993). To determine whether there is prejudice, the court examines
whether the result has been rendered “unreliable or fundamentally unfair” as a result of
counsel’s performance. Lockhart, 506 U.S. at 364; West v. United States, 994 F.2d 510,
513 (8th Cir. 1993). Unreliability or unfairness does not result if the ineffectiveness of
counsel does not deprive the defendant of any substantive or procedural right to which the
law entitles him. Lockhart, 506 U.S. at 372, quoted in West, 994 F.2d at 513. Prejudice
does not exist unless “there is a reasonable probability that, but for counsel’s . . . errors,
the result of the proceeding would have been different.” Strickland, 466 U.S. at 694,
quoted in Williams, 994 F.2d at 1291.
            C. Mr. Frank’s Claims for Relief Pursuant to 28 U.S.C. § 2255
                                 1. Count 47 Discrepancy
         Mr. Frank accurately claims that Count 47, of which he was acquitted, is listed as
a count of conviction in the criminal judgement signed by Judge Dawson on
January 31, 2003. However, Mr. Frank’s claim that he has suffered prejudice worthy of
section 2255 relief because of this error lacks merit.
         Count 47 of the indictment charged Mr. Frank with money laundering in connection
with a transaction involving a 1995 Dodge Dakota truck in violation of 18 U.S.C. §§ 2 and


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1956(a)(1)(B)(I). However, the criminal judgment which states Mr. Frank was convicted
of Count 47 lists Count 47 as “Conspiracy to Commit Money Laundering by Engaging in
a Financial Transaction to Conceal the Proceeds of Unlawful Activity,” in violation of
18 U.S.C. §§ 1956(a)(1)(B)(I), 1956(h), and 1957. The indictment lists “Conspiracy to
Commit Money Laundering by Engaging in a Financial Transaction to Conceal the
Proceeds of Unlawful Activity” as Count 49. Mr. Frank was convicted of Count 49.
Thus, the listing of Count 47 as a count of conviction is merely a typographical error;
Count 49 should have been listed in its place. The only error in the counts of conviction
is the number of the count, not the underlying offense that is listed. Although the criminal
judgment listed Count 47 as a count of conviction, Mr. Frank did not suffer any prejudice
because he was sentenced according to the underlying offense outlined in Count 49 of the
indictment. No difference in Mr. Frank’s sentence would have resulted had the criminal
judgment correctly listed Count 49 instead of Count 47. Thus, Mr. Frank’s claim lacks
merit because his sentence was determined correctly. Nonetheless, this court recommends
that the counts of conviction be renumbered, nunc pro tunc, to accurately reflect Count 49,
not Count 47, as a count of conviction.
                                    2. Actual Innocence
       Mr. Frank asserts that he is actually innocent of “any aiding, abetting, attempting,
or conspiring to defraud the United States,” in regards to the criminal judgment levied
against him as a result of his 1988 arson conviction. In support of this argument,
Mr. Frank states that he is not guilty of any of the crimes outlined in the indictment
because the 1988 criminal judgment did not set forth an explicit payment schedule.
However, because Mr. Frank failed to raise this issue with the District Court or on direct
appeal, this claim is procedurally barred unless Mr. Frank can demonstrate either
“[1] cause for his default and actual prejudice, or [2] that the failure to consider his claims
would result in a fundamental miscarriage of justice.” McCall, 114 F.3d at 758. A
successful actual innocense claim would satisfy the fundamental miscarriage of justice


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exception, negate the procedural bar, and allow Mr. Frank’s argument. To avoid the
procedural bar through a claim of actual innocense, Mr. Frank must “show[] by clear and
convincing evidence that, but for the alleged constitutional error, no reasonable juror
would have found [him] guilty.” Anderson, 25 F.3d at 706–07. However, Mr. Frank
must also show that: (1) his allegations of constitutional error are supported by new
reliable evidence that was not presented at trial; and (2) it is more likely than not that no
reasonable juror would have convicted him in light of the new evidence. Weeks, 119 F.3d
at 1351.
       Mr. Frank has failed to present any new evidence that was not presented at trial in
support of his actual innocense argument. He simply claims that the “Order of Restitution
. . . did not provide a legislatively required repayment order,” as justification for the
scheme he participated in to avoid repayment of the 1988 criminal judgment. He has not
presented any new evidence that states he is actually innocent of the crimes for which he
was convicted. Mr. Frank cites 18 U.S.C. § 3572(d) as authority for his assertion.
Section 3572(d) does not impose any mandates concerning the repayment of criminal
judgements. It simply states that, “[i]f the court provides for payment installments, the
installments shall be in equal monthly payments over the period provided by the court,
unless the court establishes another schedule.” 18 U.S.C. § 3572(d)(1). Nowhere in this
statute is there any language that would in any way absolve Mr. Frank from his guilt in
avoiding repayment of the 1988 criminal judgment. In fact, this court is confused by
Mr. Frank’s claim of actual innocense because instead of actually claiming innocense, he
seems to simply state that the lack of an explicit payment schedule somehow justifies his
actions. A claim of actual innocense could only derive from an assertion that the defendant
did not owe restitution or did not attempt to conceal his income and assets. Without any
new evidence, it is extremely unlikely that any reasonable juror would have acquitted
Mr. Frank of the crimes for which he was convicted. The argument is procedurally
barred.


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                             3. Money Laundering Sentence
       Mr. Frank claims that the sentence he received for his money laundering convictions
is inconsistent with the jury’s verdict and the U.S. Sentencing Guidelines. Mr. Frank was
sentenced in accordance with the 2000 Sentencing Guidelines, which provided for a base
offense level of 21 under § 2S1.1. Frank, 354 F.3d at 926. Mr. Frank asserts that the
2002 Sentencing Guidelines should have determined his sentence, which, he asserts, would
have resulted in a lower base offense level.
       This issue was raised on Mr. Frank’s direct appeal to the Eighth Circuit and denied.
Id. at 928. The Eighth Circuit is clear that “claims which were raised and decided on
direct appeal cannot be re-litigated on a motion to vacate pursuant to 28 U.S.C. § 2255.”
United States v. Shabazz, 657 F.2d 189, 190 (8th Cir. 1981). This is true even if “the
issues were raised on direct appeal in a pro se brief,” such as in the instant case. Id.
Furthermore, in its denial of Mr. Frank’s argument, the Eighth Circuit noted that
Mr. Frank would have received a base offense level of 24 had the 2002 Sentencing
Guidelines determined his sentence, “which is at least three levels higher than that which
[he] received under the 2000 guidelines.” Frank, 354 F.3d at 928. The Eighth Circuit’s
denial of the issue was based on its determination that the “district court properly used the
sentencing guidelines in effect at the time the offenses of conviction were committed so as
to avoid a violation of the ex post facto clause.” Id. Mr. Frank’s argument is barred
pursuant to Eighth Circuit precedent.
                             4. Constitutionality of Sentence
       Mr. Frank’s final argument, which he reasserts in numerous forms in his reply to
the government’s resistance and his amendment to his original section 2255 motion, states
that his sentence is unconstitutional because he was sentenced for conduct not alleged in
the indictment or provided in the jury’s verdict.       In its resistance, the government
addresses this argument as an unsophisticated Blakely v. Washington/United States v.
Booker claim. Mr. Frank denies that his claim is based upon the principles set forth by


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the United States Supreme Court in Blakely or Booker. He asserts that it is not Blakely
or Booker, but Article III and the Fifth and Sixth Amendments of the Constitution that
support his argument. This court agrees with the government that Mr. Frank is actually
making a Blakely/Booker claim.
       Mr. Frank’s argument is premised on the fact that his sentence was enhanced post-
trial by information contained in his PSIR, including, but not limited to, information
pertaining to his role in the offense, his criminal history, and his violation of the 1988
criminal judgment. Mr. Frank claims that the sentence-enhancement information in his
PSIR constituted new charges.       By enhancing his sentence according to the PSIR,
Mr. Frank insists that Judge Dawson found him guilty of these “new” charges without the
benefit of a constitutionally-guaranteed jury trial.       As this court understands it,
Mr. Frank’s claim is that he was entitled to have a jury decide all facets of his trial and
sentencing. Although Mr. Frank insists that Blakely and Booker do not apply, he is
wrong. Blakely and Booker directly address sentencing issues under the constitutional
provisions cited by Mr. Frank. Mr. Frank admits this in his reply to the government’s
resistance.   Furthermore, Mr. Frank’s claim, that the issues that resulted in the
enhancement of his sentence required submission to a jury, is the exact issue the Supreme
Court dealt with in Blakely and later in Booker.
       In Blakely, the United States Supreme Court held that any departure, either upward
or downward, beyond that authorized by statute, requires submission of the issue to a jury
unless the underlying facts creating the departure are admitted by the defendant.
124 S. Ct. at 2543. In Booker, the Supreme Court held that the Blakely principle applied
to departures from the U.S. Sentencing Guidelines. 124 S. Ct. at 755–56. In doing so,
the Court also held that the Sentencing Guidelines are not mandatory, but are merely
advisory. Id. at 757. Thus, the Court’s holding “requires a sentencing court to consider
Guidelines ranges . . . [,] but it permits the court to tailor the sentence in light of other
statutory concerns . . . .” Id. (citations omitted). However, the Court held that its Booker


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holding only applied retroactively to “all cases on direct review.” Id. at 769. The Court
makes no mention of cases on collateral review.
       The United States Supreme Court’s decision in Blakely was an extension of the
principle it set forth in Apprendi v. New Jersey, 530 U.S. 466 (2000). In Apprendi, the
Court held that, “‘other than the fact of a prior conviction, any fact that increases the
penalty for a crime beyond the prescribed statutory maximum must be submitted to a jury,
and proved beyond a reasonable doubt.’” Id. at 490, quoted in Schriro v. Summerlin,
124 S. Ct. 2519, 2522 (2004). New procedural rules announced by the Court apply
retroactively “to all criminal cases still pending on direct review.” Schriro, 124 S. Ct. at
2522. However, new procedural rules only apply in limited circumstances to convictions
that are already final. Id. The Court set forth a three-step analysis regarding the
application of new procedural rules to cases on collateral review in Teague v. Lane, 489
U.S. 288 (1989), which the Court recently reaffirmed in Beard v. Banks, 124 S. Ct. 2504
(2004). The analysis involves determining: (1) “when the defendant’s conviction became
final”; (2) “whether the rule is actually ‘new’”; and (3) “whether [the rule] falls within
either of the two exceptions to nonretroactivity.” Id. at 2510. The two exceptions to this
rule involve substantive rules and constitutional determinations. Schriro, 124 S. Ct. at
2522. The latter exception involves “‘watershed’ procedural rule[s] entitled to retroactive
effect.” Id. at 2523. As the Court stated in Schriro v. Summerlin, “[s]uch rules apply
retroactively because they ‘necessarily carry a significant risk that a defendant stands
convicted of an act that the law does not make criminal’ or faces a punishment that the law
cannot impose upon him.” Id. at 2522–23 (quoting Bousley v. United States, 523 U.S.
614, 620–21 (1998)).
       Although the United States Supreme Court has not explicitly addressed whether
Booker satisfies the Teague Test and is retroactively applicable to cases on collateral
review, all of the Circuit Courts that have addressed this issue have held that it is not to
be retroactively applied. The Sixth Circuit has noted that “[t]he Supreme Court has never


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held that a new rule of criminal procedure falls within Teague’s second exception,” and
thus the rule announced in Booker was not a watershed procedural rule worthy of
retroactive application to cases on collateral review. Humphress v. United States, 398
F.3d 855, 863 (6th Cir. 2005) (citing Beard, 124 S. Ct. 2513–14). The Seventh Circuit
has also held that Booker does not represent a “watershed” procedural rule and “does not
apply retroactively to criminal cases that became final before its release on January 12,
2005.” McReynolds v. United States, 397 F.3d 479, 481 (7th Cir. 2005). The Tenth
Circuit has undertaken the same Teague analysis and reached the same conclusion. United
States v. Bellamy, No. 04-5145, 2005 WL 1406176, at *3 (10th Cir. June 16, 2005). The
Second, Fifth, and Eleventh Circuits have held that because the Supreme Court did not
explicitly state that Booker was applicable to cases on collateral review, it does not apply
retroactively to collateral cases. Green v. United States, 397 F.3d 101, 103 (2d Cir.
2005); In re Elwood, 408 F.3d 211, 213 (5th Cir. 2005); In re Anderson, 396 F.3d 1336,
1339 (11th Cir. 2005). The First and Third Circuits have adhered to the above outlined
reasoning and relied on the fact that every Circuit Court that has addressed whether Booker
is retroactively applicable to cases on collateral review has determined that it is not.
Cirilo-Munoz v. United States, 404 F.3d 527, 533 (1st Cir. 2005); Lloyd v. United States,
407 F.3d 608, 614 (3d Cir. 2005). Finally, the Eighth Circuit, following the same
reasoning promulgated by its sister circuits, has held that “the ‘new rule’ announced in
Booker does not apply to criminal convictions that became final before the rule was
announced, and thus does not benefit movants in collateral proceedings,” such as
Mr. Frank. Never Misses a Shot v. United States, No. 05-1233, 2005 WL 1569403, at
*2 (8th Cir. July 7, 2005).
       In accordance with the above reasoning regarding the lack of retroactive
applicability of Booker to cases on collateral review, Mr. Frank is not entitled to any relief
under Booker. Thus, Mr. Frank’s numerous assertions of violations of his constitutional
rights by the government and Judge Dawson lack merit, as do his assertions that the


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assistance of his counsel, Mr. Wallace L. Taylor, was ineffective. Mr. Taylor’s failure
to predict a Blakely/Booker claim regarding the enhancement of Mr. Frank’s sentence does
not represent assistance of counsel that fell below an objective standard of reasonableness.
       For the reasons discussed above, IT IS RECOMMENDED, unless any party files
objections to this Report and Recommendation within ten (10) days of the date of this
Report and Recommendation, that the movant’s motion for relief under 28 U.S.C. § 2255
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be denied.
       July 19, 2005.




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        Any party who objects to this Report and Recommendation must serve and file
specific, written objections within ten (10) court days from this date. A party objecting
to the Report and Recommendation must arrange promptly for a transcription of all
portions of the record that the district court judge will need to rule on the objections.

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